                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                   at CHATTANOOGA


UNITED STATES OF AMERICA                             )
                                                     )       Case No. 1:10-cr-46
v.                                                   )
                                                     )       MATTICE / LEE
MICHAEL JOHNSON                                      )
                                                     )


                                            ORDER

       Magistrate Judge Susan K. Lee filed a report and recommendation recommending the Court:

(1) grant Defendant’s motion to withdraw his not guilty plea to Counts One and Two of the

three-count Indictment; (2) accept Defendant’s plea of guilty to Counts One and Two of the

Indictment; (3) adjudicate Defendant guilty of the charges set forth in Counts One and Two of the

Indictment; (4) defer a decision on whether to accept the plea agreement until sentencing; and

(5) Defendant has been released on bond under appropriate conditions of release pending sentencing

in this matter without objection [Doc. 33]. Neither party filed a timely objection to the report and

recommendation. After reviewing the record, the Court agrees with the magistrate judge’s report

and recommendation. Accordingly, the Court ACCEPTS and ADOPTS the magistrate judge’s

report and recommendation [Doc. 33] pursuant to 28 U.S.C. § 636(b)(1) and ORDERS as follows:

       (1)     Defendant’s motion to withdraw his not guilty plea to Counts One and Two of the

               Indictment is GRANTED;

       (2)     Defendant’s plea of guilty to Counts One and Two of the Indictment is ACCEPTED;

       (3)     Defendant is hereby ADJUDGED guilty of the charges set forth in Counts One and

               Two of the Indictment;




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     (4)   A decision on whether to accept the plea agreement is DEFERRED until sentencing;

           and

     (5)   Defendant SHALL REMAIN on bond under appropriate conditions of release

           pending sentencing in this matter without objection which is scheduled to take place

           on Monday, August 16, 2010 at 9:00 a.m. before the Honorable Harry S. Mattice,

           Jr.

     SO ORDERED.

     ENTER:

                                                      /s/Harry S. Mattice, Jr.
                                                      HARRY S. MATTICE, JR.
                                                 UNITED STATES DISTRICT JUDGE




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